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          EXHIBIT 11
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Governski, Meryl Conant

From:                            Joe Sibley <sibley@camarasibley.com>
Sent:                            Thursday, March 30, 2023 11:01 PM
To:                              John Langford
Cc:                              Gottlieb, Michael; Governski, Meryl Conant; Houghton-Larsen, M Annie; Von DuBose
Subject:                         Re: Records from Giuliani Communications, LLC & Giuliani Partners, LLC
Attachments:                     GiulianiSocialMedia.pdf; MossIROG(Answers)(Fifth).pdf; MossIROG(Answers)
                                 (fourth).pdf; MossIROG(Answers)(third)(supplement).pdf; MossIROG(Answers)(Second)
                                 (supplemental).pdf; MossIROG(Answers)(amended)(supplemental).pdf;
                                 MOSSVERIFICATION(Omnibus).pdf



                                         *** EXTERNAL EMAIL ***

John/other counsel,

See attached supplemental production consisting of the social media messages that Giuliani reports to have
found responsive to Plaintiffs' requests.

The full links (hidden in the screenshot) are:

https://saraacarter.com/former-flynn-defense-counsel-covington-and-burling-just-now-found-additional-docs-
in-flynn-file/

https://twitter.com/SidneyPowell1/status/1323837431234351106?t=K0iSYG9Hmsn4oX9GLaJ_Rw&s=19

As for your issues pertaining to the entities, there is no email address or website for Giuliani Communication as
I understand it.

The only remaining employee with a Giuliani partners email appears to be Maria Ryan, who you subpoenaed.

Any employee who was terminated in the past, they no longer have access to. However, whatever emails were
sent to Giuliani would have been included in the TrustPoint search.

As for the new devices, Giuliani reports that he has conducted searches pursuant to the search terms for RFP
sets 1 and 2 and has no non-privileged responsive documents. All of the responsive documents that are
privileged were created as a result of the instant litigation.

Giuliani also reports he does not have phone records, but will execute whatever release is necessary to obtain
the phone records.

Giuliani stands on his objections to RFP set 4.

Finally, the TrustPoint documents have been archived. Giuliani will have to pay considerable fees to have the
documents unarchived and searched for additional files (and it does not appear the original seized devices are
searchable or contain the data any longer). Given the paucity of his text messages and other messaging, he is
requesting that Plaintiffs pay for any further searches on this data.

The interrogatory answers as supplemented are attached as well as a verification.
                                                         1
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-- Joe




On Wed, Mar 29, 2023 at 4:21 PM John Langford <john.langford@protectdemocracy.org> wrote:
 Joe,

 Ahead of your production tomorrow, I am writing to confirm whether the documents you've collected and
 searched include all relevant documents from Giuliani Communications, LLC and Giuliani Partners, LLC. Our
 understanding is that your client has possession, custody, or control of those documents and is, therefore,
 obligated to produce any documents contained in those business files (including in his email addresses with
 either entities) pursuant to the Court’s order. If that is wrong, we are prepared to serve subpoenas on both
 entities to ensure that those records are also captured.

 Thank you,

 John

 --
 John Langford
 Counsel, Protect Democracy
 john.langford@protectdemocracy.org | (919) 619-9819




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                           Plaintiffs,                   Civil Action No. 21-3354 (BAH)

                           v.                            Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                           Defendants.




         SUPPLEMENTAL ANSWERS TO FIRST SET OF INTERROGATORIES

        Defendant serves his Supplemental Answers to First Set of Interrogatories as follows:

INTERROGATORY NO. 1:

Identify and describe in detail all evidence on which You relied to support any and all Statements attributed

to You in the Complaint, including but not limited to evidence that Plaintiffs engaged in any form of election

fraud or illegal conduct during the 2020 Presidential Election, and the attempts, if any, You took to examine

or independently confirm the veracity of such evidence.

ANSWER:

Defendant objects to this Interrogatory as overly broad and calling for a narrative answer.

Defendant reviewed the video of Plaintiffs in Fulton County that is referenced in the Complaint.

Defendant also became aware of stories circulating that Plaintiff Freeman had been arrested on allegations

relating to voter fraud.

Defendant reserves the right to supplement the answer to this Interrogatory.

AMENDED ANSWER:

Defendant reviewed the videos of Plaintiffs in Fulton County that are referenced in the Complaint and other

videos of Plaintiffs’ election-related activities, which speak for themselves. The Statements attributed to
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Defendant in the Complaint, as they relate to the video footage, are Defendants subjective interpretation

and opinion regarding what the video footage shows and is, therefore, an opinion based on disclosed facts.

Defendant also became aware of stories circulating that Plaintiff Freeman had been arrested on allegations

relating to voter fraud and several publications that agreed with his subjective interpretation of the video.

Defendant does not recall any further specifics but reserves the right to supplement if his recollection is

refreshed.

SUPPLEMENTAL ANSWER:

Defendant may have also relied on information from Bernard Kerik as to Plaintiffs’ backgrounds and arrest

records over the phone as discussed in his deposition. Defendant also relied on interviews with GOP

election observers and recalls seeing their affidavit/declaration testimony as discussed in his deposition.



INTERROGATORY NO. 2:

Identify and describe in detail all evidence of which You are or have been aware that contradicted and/or

discredited the Statements attributed to You in the Complaint, and provide details regarding the attempts,

if any, You took to examine such evidence. Your answer to this Interrogatory should specifically address,

but not be limited to, whether and how You considered: statements by the Georgia Bureau of Investigation;

statements by Voting Implementation Manager for the State of Georgia, Gabriel Sterling; the Watson

Affidavit; and the December 7, 2020 recertification of Joe Biden’s victory in Georgia; the articles and

publications by Lead Stories, PolitiFact, and Georgia Public Broadcasting referenced in the Complaint; the

January 12, 2021, report by Mr. Carter Join, State Election Board Report – Post-Election Executive

Summary, Seven Hills Strategies (Jan. 12, 2021), https://perma.cc/7U3Z-DX2J; the decision in In re

Giuliani, 197 A.D.3d 1, 146 N.Y.S.3d 266 (1st Dep’t 2021); the May 5, 2021, deposition of James Calloway

in Jeffords v. Fulton County, No. 2020-cv-343938 (Ga. Super. Ct. May 5, 2021), available at

https://perma.cc/PYU3-G5K4; the Georgia Secretary of State’s October 12, 2021, filing in Favorito v. Wan,

No. 2020-cv-343938 (Ga. Super. Ct. Oct. 12, 2021) and the exhibits thereto, available at

https://perma.cc/PYU3-G5K4; and statements by former Attorney General William Barr in One Damn
                                                      2
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Thing After Another: Memoirs of an Attorney General (2022) or otherwise made by Mr. Barr around the

book’s publication concerning the Statements.

ANSWER:

Defendant objects to this Interrogatory as assuming facts not in evidence. An interrogatory cannot create

a “reading list” for Defendant. Defendant eventually became aware of claims that his statements regarding

Plaintiffs were disputed but he does not have a specific recollection of what documents/evidenced he

reviewed to this effect or when this occurred. Defendant interviewed John Solomon—over a year after the

original event in question—who indicated that he did not agree with the veracity of certain allegations in

Defendants’ statements regarding Plaintiffs.

AMENDED ANSWER:

Defendant objects to this Interrogatory as assuming facts not in evidence, namely that the answer “should

include” a discussion of materials for which a predicate has not been laid. The interrogatory seeks to answer

its own question by volunteering a reading list.

Subject to, and without waiving these objections, Defendant eventually became aware of claims that his

statements regarding Plaintiffs were disputed but he does not have a specific recollection of what

documents/evidenced he reviewed to this effect or when this occurred.

Defendant is aware of allegedly contradictory evidence in the Complaint and in this Interrogatory but has

not undertaken to review such materials.

Defendant also interviewed John Solomon—over a year after the original event in question—who indicated

that he did not agree with the veracity of certain allegations in Defendants’ statements regarding Plaintiffs,

but Solomon did agree that protocols were not properly followed such as closing the vote counting to the

public.



INTERROGATORY NO. 3:

Identify and describe in detail any conversations You had, participated in, or are aware of with former

President Donald J. Trump or members of the Trump Campaign regarding Plaintiffs.
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ANSWER:

Defendant does not have a specific recollection of conversations regarding Plaintiffs with former President

Trump. Defendant does not have specific recollection of conversations with the Trump Campaign

regarding Plaintiffs but does not deny that conversations must have occurred at some level because the

video of Plaintiffs counting ballots was utilized in various proceedings in which Defendant represented the

Trump Campaign.

AMENDED ANSWER:

Defendant does not have a specific recollection of conversations regarding Plaintiffs with former President

Trump but believes that there may have been discussions regarding the videos in which Plaintiffs appear.

Should Defendant’s recollection be refreshed on this subjection matter, this would be protected by attorney-

client privilege. Defendant also does not have specific recollection of conversations with the Trump

Campaign regarding Plaintiffs but does not deny that conversations must have occurred at some level

because the video of Plaintiffs counting ballots was utilized in various proceedings in which Defendant

represented the Trump Campaign. However, once again, to the Defendant’s recollection be refreshed on

this subjection matter, this would be protected by attorney-client privilege.



SUPPLEMENTAL ANSWER:

Defendant generally recalls that he was made aware of the existence of a video the night before the hearing

before the Georgia Senate Election Hearing on December 3, 2020. Defendant did not see the video until it

was played at the hearing. Defendant generally recalls that after the hearing he was shown what he believes

was the same video shown in the hearing room (and some additional segments showing what appeared to

be thumb drives being passed and were described that way by the people in the viewing room) in the

presence of Jackie Pick, William Smith, Burt Jones, unknown Burt Jones associates, and unknown GOP

operatives who were present in Atlanta, GA when he reviewed the videos. See also Deposition Transcript

testimony. Defendant does not recall the specifics of the conversations. These conversations would not be



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privileged because they were not in anticipation of litigation. Defendant does not recall the specific videos

he watched.



INTERROGATORY NO. 4:

Describe in detail the Giuliani Communications Plan, including but not limited to its formation, its

author(s), all of the individuals identified as members of the “Giuliani Presidential Legal Defense Team”

and/or the “Giuliani Team,” all of the individua ls identified as “Key Team Members,” whether or not listed

by name or acronym, including but not limited to “BK,” KF,” “SB,” “BE,” “CR,” “SP,” “TF,” “PW,”

“Media Advisors,” “Serrano Public Relations Team,” “Research Team,” “Tech Team,” “Peter Navarro

Team,” “Local Legal Teams in AZ, GA, MI, NV, PA, WI,” the “Identified Legislative Leaders in each

swing state,” and the “Freedom Caucus Members,” the basis or facts supporting the “Voter Fraud

Highlights” for the State of Georgia listed on pages 9, 10, and 11 of the Giuliani Communications Plan, the

basis or facts supporting the “Suitcase Gate” and “Water Leak” “Fraud Incidents” listed on pages 20 and

21 of the Giuliani Communications Plan, and all individuals You are aware were intended to receive copies

of the Giuliani Communications Plan and/or who were intended to assist in its implementation..

ANSWER:

Defendant objects to this Interrogatory because it seeks information regarding a document that Defendant

is not the author of. Defendant does not have personal knowledge of the questions asked by this

Interrogatory. Subject to and without waiving these objections, Defendant will supplement this answer

with non-personal knowledge as he further looks into the document as discovery progresses.

AMENDED ANSWER:

Defendant objects to this Interrogatory because it seeks information regarding a document that Defendant

is not the author of. Defendant does not have personal knowledge of the questions asked by this

Interrogatory.

Subject to and without waiving these objections, Defendant has learned that this document was authored

by Katherine Friess. Defendant was not involved in the creation of the document. Defendant did not
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approve the document or the proposals/statements therein. Defendant did not approve his name being used

in connection with the document. Defendant does not even recall specifically seeing the document in the

2020-time frame. Defendant was aware that Friess wanted to make a proposal to implement the substance

of the document to the White House but did not support the plan in its particulars or support it. In short, it

was Defendant’s opinion that the White House would not fund the proposal. Defendant had nothing to do

with the preparation or creation of the document.



INTERROGATORY NO. 5:

Identify and describe in detail all individuals with whom you have ever discussed either of the Plaintiffs

and describe what You said about the Plaintiffs in these conversations.

ANSWER:

Defendant objects to this Interrogatory as overly broad and unduly burdensome. Other than the statements

itemized in Plaintiff’s Complaint, which speak for themselves as to what was said and who they were said

to, Plaintiff does not have a specific recollection of discussing Plaintiffs with any particular individuals.

SUPPLEMENTAL ANSWER:

Defendant generally recalls that he was made aware of the existence of a video the night before the hearing

before the Georgia Senate Election Hearing on December 3, 2020. Defendant did not see the video until it

was played at the hearing. Defendant generally recalls that after the hearing he was shown what he believes

was the same video shown in the hearing room (possibly some additional segments) in the presence of

Jackie Pick, William Smith, Burt Jones, unknown Burt Jones associates, and unknown GOP operatives who

were present in Atlanta, GA when he reviewed the videos. See also Deposition Transcript testimony.

Defendant does not recall the specifics of the conversations. These conversations would not be privileged

because they were not in anticipation of litigation.



INTERROGATORY NO. 6:



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Describe in detail Your role, official or unofficial, with the Trump Campaign and/or any engagement you

had or continue to have with former President Donald J. Trump from November 3, 2020 to the Present, at

the time you made each of the various Statements about Plaintiffs described in Paragraphs 57–101 of the

Complaint. If Your role with the Trump Campaign and/or your engagement with former President Donald

J. Trump changed or varied over this time period, describe in detail the exact dates on which your role

and/or engagement started, ended, or changed.

ANSWER:

Defendant served as head of the Trump Campaign’s legal team shortly after the 2020 Election and remained

involved in that position until January 2021 when the legal challenges to the election reached their

conclusion. Defendant has also served as personal legal advisor to former President Trump on and off

throughout the years and did so in the 2020-21 timeframe on miscellaneous matters.




                                                Respectfully submitted,

                                                By: /s/ Joseph D. Sibley IV

                                                        CAMARA & SIBLEY L.L.P.

                                                          Joseph D. Sibley IV
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                                                          1108 Lavaca St.
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                                                ATTORNEYS FOR RUDOLPH GIULIANI



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                             CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of March, 2023, I served the foregoing via email.


                                          /s/ Joseph D. Sibley IV
                                          Joseph D. Sibley IV




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                         Plaintiffs,                   Civil Action No. 21-3354 (BAH)

                         v.                            Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                         Defendants.




                    ANSWERS TO FIFTH SET OF INTERROGATORIES

        Defendant serves his answers to the Fifth Set of Interrogatories as follows:

AMENDED INTERROGATORY NO. 21:

Identify the specific video or videos that You viewed in or around December 2020 which formed the basis

for Your Claims Relating to Plaintiffs passing a USB or thumb drive. Describe in detail when You viewed

the video or videos, including the time frame, Your physical location, who was with You, and the specific

information that each individual provided to You, including but not limited to as described in Your

Deposition testimony at Tr. 184:11-16; 186:11-187:18; 193:16-195:23; 195:24-196:2; 220:5-220:23.

ANSWER:

Defendant generally recalls that he was made aware of the existence of a video the night before the hearing

before the Georgia Senate Election Hearing on December 3, 2020. Defendant did not see the video until it

was played at the hearing. Defendant generally recalls that after the hearing he was shown what he believes

was the same video shown in the hearing room (and some additional segments showing what appeared to

be thumb drives being passed and were described that way by the people in the viewing room) in the

presence of Jackie Pick, William Smith, Burt Jones, unknown Burt Jones associates, and unknown GOP

operatives who were present in Atlanta, GA when he reviewed the videos. See also Deposition Transcript
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testimony. Defendant does not recall the specifics of the conversations. These conversations would not be

privileged because they were not in anticipation of litigation. Defendant does not recall the specific videos

he watched.



INTERROGATORY NO. 23:

Describe in detail what “conflicting information” You were aware of before You made the Actionable

Statements at ¶¶ 66, 69, 80, 88, 91, of the Complaint. (Tr. 108:8-109:14.)

ANSWER:

Defendant objects to this interrogatory’s definition of “Actionable Statements” and does not concede any

statements are actionable. Defendant does not have a specific recollection of information that conflicted

with his statements that Plaintiffs complain of, but generally recalls that it came from the office of Gov.

Kemp and Sec. Raffensperger and from various media reports.



INTERROGATORY NO. 24:

Identify and Describe what You were referring to when You testified during Your deposition that, “what I

remember seeing is the ballots being put in multiple times and then – then another ballot would be put in

and then sometime later, maybe three, four, five ballot later, it would be done again. It wasn’t done all the

time, It was done almost on a sporadic basis,” this includes but is not limited to, the specific video watched,

the date, where You were located, who was present, and what was said. (Tr. at 404:8-405:4.)

ANSWER:

Defendant generally recalls that he was made aware of the existence of a video the night before the hearing

before the Georgia Senate Election Hearing on December 3, 2020. Defendant did not see the video until it

was played at the hearing. Defendant generally recalls that after the hearing he was shown what he believes

was the same video shown in the hearing room (and some additional segments showing what appeared to

be thumb drives being passed and were described that way by the people in the viewing room) in the

presence of Jackie Pick, William Smith, Burt Jones, unknown Burt Jones associates, and unknown GOP
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operatives who were present in Atlanta, GA when he reviewed the videos. See also Deposition Transcript

testimony. Defendant does not recall the specifics of the conversations. These conversations would not be

privileged because they were not in anticipation of litigation. Defendant does not recall the specific videos

he watched. Defendant was generally referring to his opinion that the video appeared to show Plaintiffs

and others counting votes multiple times by placing the same ballot in the counting machine multiple times.



INTERROGATORY NO. 25:

Describe in detail all the information that Cleta Mitchell provided to You that You relied on to support any

and all Statements attributed to You in the Complaint. (See Tr. 273:5-12.)

ANSWER:

Defendant does not have a specific recollection of Cleta Mitchell providing any information that he relied

on with respect to statements made that Plaintiffs complain of in this suit.



INTERROGATORY NO. 26:

Describe in detail and identify all Communications that You have had from November 2020 to present with

Katherine Friess Relating To Plaintiffs. This should include the date and medium of Communications.

ANSWER:

Defendant does not have a specific recollection of Katherine Friess providing any information that he relied

on with respect to statements made that Plaintiffs complain of in this suit.



INTERROGATORY NO. 27:

Identify and Describe the individuals and specific information You were referring to when You testified at

Your Deposition, “Based on my experts.” (Tr. at 422:10-21.)

ANSWER:




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Defendant was referring to information provided by Phil Waldron and Bryan Geels. Defendant does not

recall the specific information other than that it contradicted the information provided by Mr. Sterling as

discussed in the deposition.



INTERROGATORY NO. 28:

Describe in detail and Identify all Communications that You have had from November 2020 to present with

Christina Bobb Relating To Plaintiffs. This should include the date and medium of Communications.

ANSWER:

Defendant does not have a specific recollection of Christina Bobb providing any information that he relied

on with respect to statements made that Plaintiffs complain of in this suit. Defendant also is not aware of

Ms. Bobb being involved in Georgia 2020 Election issues.




                                                 Respectfully submitted,

                                                 By: /s/ Joseph D. Sibley IV

                                                         CAMARA & SIBLEY L.L.P.

                                                           Joseph D. Sibley IV
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                                                           1108 Lavaca St.
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                                                           Austin, TX 78701

                                                           Telephone: (713) 966-6789
                                                           Fax: (713) 583-1131
                                                           Email: sibley@camarasibley.com

                                                 ATTORNEYS FOR RUDOLPH GIULIANI




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                             CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of March, 2023, I served the foregoing via email.


                                          /s/ Joseph D. Sibley IV
                                          Joseph D. Sibley IV




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                          Plaintiffs,                  Civil Action No. 21-3354 (BAH)

                          v.                           Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                          Defendants.




                   ANSWERS TO FOURTH SET OF INTERROGATORIES

        Defendant serves his answers to the Fourth Set of Interrogatories as follows:

INTERROGATORY NO. 21:

Identify the specific video or videos that You viewed in and around December 2020 which formed the basis

of Your Claims Relating to Plaintiffs passing a thumb drive. Describe in detail when You viewed the video

or videos, including the time frame, Your physical location, and who was present with You.

ANSWER:

Plaintiffs have amended this interrogatory and Defendant has answered it in his answers to the Fifth Set of

Interrogatories.



INTERROGATORY NO. 22:

Describe in detail and identify all Communications that You have had from November 2020 to present with

Bernard Kerik Relating To Plaintiffs. This should include the date and medium of Communications.

ANSWER:

Defendant does not recall the specific dates and substance of the communications. Defendant refers

Plaintiffs to his deposition transcript at 239:2-24; 249:15-250:12; 252:11-253:21.
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                                          Respectfully submitted,

                                          By: /s/ Joseph D. Sibley IV

                                                  CAMARA & SIBLEY L.L.P.

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                                          ATTORNEYS FOR RUDOLPH GIULIANI


                             CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of March, 2023, I served the foregoing via email.


                                          /s/ Joseph D. Sibley IV
                                          Joseph D. Sibley IV




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                           Plaintiffs,                   Civil Action No. 21-3354 (BAH)

                           v.                            Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                           Defendants.




                                    SUPPLEMENTAL ANSWERS
                           TO SECOND SET OF INTERROGATORIES

        Defendant serves his Supplemental Answers to Second Set of Interrogatories as follows:

INTERROGATORY NO. 7:

Identify and Describe in detail all devices, e-mail accounts, Social Media aliases, and any

other messaging or communications platform from which You received or sent Communications

about any allegations of fraud in relation to the 2020 Presidential Election, including, but not limited

to, in the State of Georgia.

ANSWER:

Defendant objects to this Interrogatory as overly broad and unduly burdensome in that it asks for “devices”.

Defendant cannot recall every device used. Subject to and without waiving these objections, Defendant

will produce an inventory of electronic devices used during the relevant time frame. As for the remainder,

Defendant responds as follows:

https://www.youtube.com/c/RudyWGiuliani

https://www.facebook.com/realrudygiuliani/

https://rumble.com/user/TheRudyGiuliani

https://twitter.com/RudyGiuliani
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rudolphgiuliani@icloud.com

rhelen0528@gmail.com



Defendant reserves the right to supplement the answer to this Interrogatory.


SUPPLEMENTAL ANSWER:

Defendant refers Plaintiffs to the inventory of electronic devices previously produced. Defendant utilized

desk top computers, laptops, iPad, and cell phones, all of which were part of the DOJ seizure and the files

of which were put on the TrustPoint server.




INTERROGATORY NO. 8:

Describe in detail how the January 2, 2021 phone call between Donald Trump and Georgia

Secretary of State Brad Raffensperger came about, Your involvement in the preparation for that

phone call, Your participation in that phone call, and Identify any and all participants on that phone

call, and Describe the content of any discussions about and following the phone call.

ANSWER:

Defendant objects to this interrogatory as calling for potentially privileged information in that it asks for

potentially attorney-client privileged discussions between Defendant and Trump. Subject to and without

waiving these objections, Defendant has no knowledge of how the phone call came about, was not involved

with or on the call, and does not have a recollection of any discussions following the call with any person.

SUPPLEMENTAL ANSWER:

Defendant does not recall any conversations with President Trump before or shortly after the call,

however, they would have been privileged had they occurred. However, his recollection has been

refreshed that some time after the call, up until the present, he has had both privileged and non-privileged

conversations (such as casual conversations about items in the press) regarding the call. However, he

does not remember the specific details.

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INTERROGATORY NO. 9:

Describe in detail how the January 6, 2021 speech given by Donald Trump on the Ellipse

came about, Your involvement in the preparation for that speech, Your participation in that speech,

Identify any and all participants involved in the preparation for that speech, and Describe the content

of any discussions about and following the speech.

ANSWER:

Defendant objects to this interrogatory as calling for potentially privileged information in that it asks for

potentially attorney-client privileged discussions between Defendant and Trump. Subject to and without

waiving these objections, Defendant has no knowledge of how the speech came about, was not involved




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with the speech, and does not have personal knowledge of who was. Defendant also does not have a specific

recollection of any discussions about and or following the speech as Defendant left the event at the Ellipse

early and prior the conclusion of President Trump’s speech.



INTERROGATORY NO. 10:

Identify and Describe in detail any and all individuals who served as counsel to the Trump

Campaign and/or Donald J. Trump in his personal capacity as that representation related or relates to

Claims of Election Fraud during the 2020 Presidential Election.

ANSWER:

Defendant does not recall in detail every and all individuals who served as counsel to the Trump

Campaign and/or Donald J. Trump in his personal capacity as that representation related or relates to

Claims of Election Fraud during the 2020 Presidential Election. Defendant refers Plaintiffs to the privilege

log previously produced that catalogues attorneys and firms.

SUPPLEMENTAL ANSWER:

Defendant recalls Jenna Ellis, Victoria Toensing, Boris Epshteyn, Christina Bobb, William Smith, Ray

Smith served as counsel to the Trump Campaign and/or Donald J. Trump.




                                                  Respectfully submitted,

                                                  By: /s/ Joseph D. Sibley IV

                                                          CAMARA & SIBLEY L.L.P.

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                              ATTORNEYS FOR RUDOLPH GIULIANI




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                             CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of March, 2023, I served the foregoing via email.


                                          /s/ Joseph D. Sibley IV
                                          Joseph D. Sibley IV




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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                          Plaintiffs,                   Civil Action No. 21-3354 (BAH)

                          v.                            Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                          Defendants.




        SUPPLEMENTAL ANSWERS TO THIRD SET OF INTERROGATORIES

        Defendant serves his supplemental answers to the Third Set of Interrogatories as follows:

INTERROGATORY NO. 11:

Describe in detail how You came learn about the State Farm Arena Surveillance Footage and Your

involvement in the use of the Surveillance Footage being played and narrated by Trump Campaign

volunteer Jacki Pick played during the Georgia Senate Election Hearing on December 3, 2020. Your answer

to this Interrogatory should include, but not be limited to, details regarding the phone conversation You or

individuals at Your direction had with Ms. Pick in advance of the December 3 hearing.

ANSWER:

Defendant objects to this Interrogatory as calling for potentially revealing attorney-client privileged

information. Subject to and without waiving these objections, Defendant generally recalls that he was made

aware of the video the night before the hearing before the Georgia Senate Election Hearing on December

3, 2020. Defendant had no involvement with creation or editing of the video.



INTERROGATORY NO. 12:
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Identify all individuals with whom You ever worked with, oversaw, or assisted in connection with the

obtaining, editing, analyzing, and/or dissemination of the Surveillance Footage and/or Trump Edited Video,

and describe in detail the conversations You had with these individuals about the same.

ANSWER:

Defendant objects to this interrogatory as calling for potentially privileged information in that it asks for

potentially attorney-client privileged discussions.    Subject to and without waiving these objections,

Defendant generally recalls that he was made aware of the video the night before the hearing before the

Georgia Senate Election Hearing on December 3, 2020. Defendant had no involvement with creation or

editing of the video.



INTERROGATORY NO. 13:

Describe in detail all of the steps and actions You took to investigate the veracity of Your Claims regarding

Plaintiffs as detailed in the Actionable Statements.

ANSWER:

Defendant objects to this interrogatory’s use of the term “Actionable Statement” as being a legal conclusion.

Subject to and without waiving this objection, Defendant reviewed the video footage, familiarized himself

with witness testimony of observers who were excluded from participating in observing Freeman and Moss,

and became aware of election law in Georgia with respect to same.



INTERROGATORY NO. 14:

Describe in detail how Your interviews with OAN described in

the Amended Complaint at ¶¶ 71-73, 89, 90-93, 94-95, and 96-97 came to happen, including how

they were arranged, scheduled, and planned. Your answer to this Interrogatory should include,

but not be limited to, details regarding all forms of Communication used in connection with

arranging, scheduling, and planning the interviews, all individuals You communicated with in

connection with the arranging, scheduling, and planning the interviews, and pre-interview and post
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interview discussions about the content of the interviews, including the topics to be discussed,

questions to be asked, and answers to be given.

ANSWER:

Defendant does not and cannot recall in detail every interaction with OAN or requests for interviews.

Defendant utilized Christiane Allen, whose documents have been previously produced, to arrange for such

interviews. Defendant has no independent recollection.



INTERROGATORY NO. 15:

Identify the specific dates by which You learned of each of the

events that occurred in December 2020 as described in ¶¶ 40-56 of the Amended Complaint: the

December 3, 2020 “fact check” by Lead Stories (as described at ¶ 42 of the Amended Complaint);

the December 4, 2020 tweet by Voting Implementation Manager for the State of Georgia, Gabriel

Sterling (as described at ¶¶ 41-42 of the Amended Complaint); the December 4, 2020 Georgia Public

Broadcasting article fact checking the election fraud claims (as described at ¶ 43 of the

Amended Complaint); the December 4, 2020 statement by Voting Implementation Manager for

the State of Georgia on Newsmax (as described in ¶ 44 of the Amended Complaint); the December

4, 2020 PolitiFact “fact check” (as described at ¶ 45 of the Amended Complaint); the sworn

affidavit from Francis Waston filed on December 6, 2020 (as described at ¶¶ 47-48 of the Amended

Complaint); Georgia Secretary of State Brad Raffensperger’s press conference on December 7,

2020 re-certifying Joe Biden’s victory in Georgia (as described at ¶ 49 of the Amended

Complaint); the statements by Mr. Sterling at the same December 7, 2020 press conference (as

described at ¶¶ 49-51 of the Amended Complaint); and the Secure the Vote timeline published at

or before December 30, 2020 (as described at ¶ 54 of the Complaint).

ANSWER:

Defendant does not and cannot recall in detail the specific date he learned of or became aware of these

events.
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INTERROGATORY NO. 16:

Describe in detail Your knowledge of the Giuliani

Communications Plan, including but not limited to the exact date when you learned of it, the details

regarding when you learned about it, who told you about it, and all of the individuals with whom

you have spoken about it.

ANSWER:

Defendant was not aware of this document during the relevant time frame. Defendant does not recall seeing

the document until Plaintiff raised it in this lawsuit. Based on the formatting of the document, Defendant

believes it was authored or created by Katherine Friess.



INTERROGATORY NO. 17:

Explain in detail what you were referring to in the following

tweets (located at https://twitter.com/RudyGiuliani/status/1336503092238487554 and

https://twitter.com/RudyGiuliani/status/1336754076084744193) that You published on

December 8, 2020 and December 9, 2020 when you referred to “The Gov., Lt. Gov., Sec’t of State

and Legislature are submitting a statement they know is false” and that the “Republicans are

covering up for them.”

ANSWER:

Defendant is expressing his opinion that the video evidence demonstrates wrongful exclusion of observers

and suspicious behavior of the election workers that appears to him to be voter fraud and disagrees with the

position of other members of Republican leadership.



INTERROGATORY NO. 18:

Quantify and explain viewing metrics for all of Your Actionable

Statements on Social Media from the date of original publication through today, including reach,

count, page visits, posts, shares, time spent, and impressions.
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ANSWER:

Defendant objects that this Interrogatory calls for expert testimony that he is not qualified to give. Subject

to and without waiving these objections, Defendant will attempt to collect data on these items and provide

to Plaintiffs at a later date.

SUPPLEMENTAL ANSWER:

Defendant has attempted to locate this data, but it is beyond his level of expertise and he is unaware of how

to obtain this information.



INTERROGATORY NO. 19:

Explain in detail what You meant in Your amended answer to

Interrogatory No. 2 when you said “Defendant is aware of allegedly contradictory evidence in the

Complaint and in this Interrogatory but has not undertaken to review such materials.” Your answer

to this Interrogatory should include, but not be limited to, the specific contradictory evidence in

the Complaint and in Interrogatory No. 2 that You are aware of, the dates on which You first

became aware of that contradictory evidence, and what you meant by “has not undertaken to

review such materials.”

ANSWER:

Defendant simply meant that Interrogatory No. 2 and the Complaint referenced articles that contradicted

his opinions in the Claims. As indicated elsewhere, Defendant does not recall the specific dates he became

aware of these materials or when he read them.



INTERROGATORY NO. 20:

Explain in detail all the evidence You obtained and/or learned of

to support Your Claims that Plaintiff Ruby Freeman had “a history of voter fraud participation”

(as described in ¶ 66 of the Amended Complaint). Your answer to this Interrogatory should

include, but not be limited to, detailed descriptions of the specific evidence you obtained and/or
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learned of, the exact dates on which You obtained and/or learned of that evidence, and the specific

steps You took to verify the veracity of that evidence.

ANSWER:

Defendant became aware of reports that Freeman had been arrested by the FBI, but now understands these

reports were inaccurate. Defendant relied on these reports at the time the statements in question were made.




                                                  Respectfully submitted,

                                                  By: /s/ Joseph D. Sibley IV

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                                                  ATTORNEYS FOR RUDOLPH GIULIANI


                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of March, 2023, I served the foregoing via email.


                                                  /s/ Joseph D. Sibley IV
                                                  Joseph D. Sibley IV




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               VERIFICATION BY DECLARATION


Rudolph Giuliani, hereby declares as follows:


1.             “My name is Rudolph Giuliani. My date of birth is May 28, 1944.

2.             “I have reviewed the factual statements in the foregoing Supplemental

               Answers to Defendant’s Amended Answers to Plaintiffs’ First

               Interrogatories, Defendant’s Supplemental Answers to Plaintiffs’ Second

               Interrogatories, Defendant’s Supplemental Answers to Plaintiffs’ Third

               Interrogatories, Defendants Answers to Plaintiffs’ Fourth Interrogatories,

               and Defendant’s Answers to Plaintiffs’ Fifth Interrogatories and they are

               within my personal knowledge and are true and correct.

“I declare under penalty of perjury that the foregoing is true and correct.


Executed in this 30th day of March 2023.




                                      ______________________________



                                              Rudolph Giuliani
